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                         UNITED STATES DISTRICT COURT
  9                     CENTRAL DISTRICT OF CALIFORNIA

  10 TERRY CARSON                             CASE NO:
  11                                          8:17−cv−02232−JVS−KES
               Plaintiff(s),
  12         v.                               INITIAL ORDER FOLLOWING
  13 EXPERIAN INFORMATION                     FILING OF COMPLAINT
                                              ASSIGNED TO JUDGE SELNA
     SOLUTIONS, INC.
  14
  15
                  Defendant(s).
  16
  17
  18
        Important Notice: The Court posts tentative law and motions rulings
  19    to the internet. Please see Section P, below
  20
  21   COUNSEL FOR PLAINTIFF SHALL SERVE THIS ORDER ON ALL

  22   DEFENDANTS AND/OR THEIR COUNSEL ALONG WITH THE SUMMONS
  23
       AND COMPLAINT, OR IF THAT IS NOT PRACTICABLE AS SOON AS
  24   POSSIBLE THEREAFTER. IF THIS CASE WAS ASSIGNED TO THIS
  25   COURT AFTER BEING REMOVED FROM STATE COURT, THE
  26   DEFENDANT WHO REMOVED THE CASE SHALL SERVE THIS ORDER
  27   ON ALL OTHER PARTIES.
  28   ///

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            This case has been assigned to the calendar of Judge James V. Selna.
  2
       The intent of this Order is to ensure that this case will proceed so as "to secure [a]
  3    just, speedy and inexpensive determination." (Fed.R.Civ. P., Rule 1.)
  4
  5         A. THE COURT'S ORDERS
  6
  7             Copies of Judge Selna’s orders that may have specific application to

  8    this case are available on the Central District of California website. See ¶ N.
  9
       Those orders include the following:
  10
  11            (1)   Order Setting Rule 26(f) Scheduling Conference
  12            (2)   Order re Civil Jury Trials
  13            (3)   Order re Civil Court Trials
  14            (3)   Order re RICO Case Statement
  15
  16        B. SERVICE OF PLEADINGS
  17
  18            Although Fed.R.Civ.P., Rule 4(m) does not require the summons and
  19   complaint to be served for as much as 120 days, the Court expects that the initial
  20   pleadings will be served much sooner than that, and will require plaintiff to show
  21   cause before then if it appears that there is undue delay.
  22
  23        C. ASSIGNMENT TO A MAGISTRATE JUDGE
  24
  25            Under 28 U.S.C. § 636, the parties may consent to have a Magistrate
  26   Judge preside over all proceedings, including trial. The Magistrate Judges who
  27   accept those designations are identified on the Central District’s website, which
  28   also contains the consent form. See ¶ N.

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             D. EX PARTE PRACTICE
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  3          Ex parte applications are solely for extraordinary relief and should
  4    be used with discretion. See Mission Power Engineering Company v.

  5    Continental Casualty Co., 883 F. Supp. 488 (C. D. Cal. 1995). The Court will
  6    generally decide ex parte matters on the papers. Opposition to an ex parte
  7    application, if any, should be submitted within 24 hours.
  8
  9          E. APPLICATIONS AND STIPULATIONS FOR EXTENSIONS

  10             OF TIME

  11
  12             No stipulations extending scheduling requirements or modifying

  13   applicable rules are effective until and unless the Court approves them. Both
  14   applications and stipulations must set forth:

  15
  16             1.   The existing due date or hearing date;
  17
  18             2. Specific, concrete reasons supporting good cause for granting
  19   the extension. In this regard, a statement that an extension "will promote
  20   settlement" is insufficient. The requesting party or parties must indicate the
  21   status of ongoing negotiations: Have written proposals been exchanged? Is
  22   counsel in the process of reviewing a draft settlement agreement? Has a mediator
  23   been selected?
  24
  25             3. Whether there have been prior requests for extensions, and
  26   whether these were granted or denied by the Court.
  27   ///
  28   ///

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             F.   TROs AND INJUNCTIONS
  2
  3          Parties seeking emergency or provisional relief shall comply with
  4    F.R.Civ.P., Rule 65 and Local Rule 65. The Court will not rule on any
  5    application for such relief for at least 24 hours after the party subject to the
  6    requested order has been served; such party may file opposing or responding
  7    papers in the interim.
  8
  9          G. CASES REMOVED FROM STATE COURT
  10
  11         All documents filed in state court, including documents appended to
  12   the complaint, answers and motions, must be refiled in this Court as a supplement
  13   to the Notice of Renewal, if not already included. See 28 U.S.C. § 1447(a),(b). If
  14   the defendant has not yet answered or moved, the answer or responsive pleading
  15   filed in this Court must comply with the Federal Rules of Civil Procedure and the
  16   Local Rules of the Central District. If before the case was removed a motion was
  17   pending in state court, it must be re−noticed in accordance with Local Rule 7.
  18
  19         H. STATUS OF FICTITIOUSLY NAMED DEFENDANTS
  20
  21
             This Court intends to adhere to the following procedures where a matter
  22   is removed to this Court on diversity grounds with fictitiously named defendants.
  23   (See 28 U.S.C. §§ 1441(a) and 1447.)
  24
  25              1. Plaintiff is normally expected to ascertain the identity of and
  26
       serve any fictitiously named defendants within 120 days of the removal of the action
  27   to this Court.
  28   ///

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                 2. If plaintiff believes (by reason of the necessity for discovery or
  2
       otherwise) that fictitiously named defendants cannot be fully identified within the
  3    120−day period, an ex parte application requesting permission to extend that period
  4    to effectuate service may be filed with this Court. Such application shall state the
  5    reasons therefor, and may be granted upon a showing of good cause. The ex parte
  6
       application shall be served upon all appearing parties, and shall state that appearing
  7    parties may comment within seven (7) days of the filing of the ex parte application.
  8
  9              3. If plaintiff desires to substitute a named defendant for one of the
  10
       fictitiously named parties, plaintiff first shall seek to obtain consent from counsel
  11
       for the previously−identified defendants (and counsel for the fictitiously named
  12   party, if that party has separate counsel). If consent is withheld or denied, plaintiff
  13
       may apply ex parte requesting such amendment, with notice to all appearing
  14   parties. Each party shall have seven calendar days to respond. The ex parte
  15   application and any response should comment not only on the substitution of the
  16   named party for a fictitiously named defendant, but on the question of whether the
  17   matter should thereafter be remanded to the Superior Court if diversity of
  18   citizenship is destroyed by the addition of the new substituted party. See U.S.C. §
  19   1447(c), (d).
  20
  21
             I. BANKRUPTCY APPEALS
  22
  23         Counsel shall comply with the ORDER RE PROCEDURE TO BE
  24   FOLLOWED IN APPEAL FROM BANKRUPTCY COURT issued at the time the
  25   appeal is filed in the District Court.
  26   ///
  27   ///
  28   ///

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             J. MOTIONS UNDER FED.R.CIV.P. RULE 12
  2
  3          Many motions to dismiss or to strike could be avoided if the parties
  4    confer in good faith (as they are required to do under L.R. 7−3), especially for
  5    perceived defects in a complaint, answer or counterclaim which could be corrected
  6    by amendment. See Chang v. Chen, 80 F.3d 1293, 1296 (9th Cir. 1996) (where a
  7    motion to dismiss is granted, a district court should provide leave to amend unless
  8    it is clear that the complaint could not be saved by any amendment). Moreover, a
  9    party has the right to amend his complaint "once as a matter of course at any time
  10   before a responsive pleading is served." Fed.R.Civ.P., Rule 15(a). A 12(b)(6)
  11   motion is not a responsive pleading and therefore plaintiff might have a right to
  12   amend. See Nolen v. Fitzharris, 450 F.2d 958, 958−59 (9th Cir. 1971); St.

  13   Michael’s Convalescent Hospital v. California, 643 F.2d 1369, 1374 (9th Cir.
  14   1981). And even where a party has amended his Complaint once or a responsive
  15   pleading has been served, the Federal Rules provide that leave to amend should be
  16   "freely given when justice so requires." F.R.Civ.P., Rule 15(a). The Ninth Circuit
  17   requires that this policy favoring amendment be applied with "extreme liberality."
  18   Morongo Band of Mission Indians v. Rose, 893 F.2d 1074, 1079 (9th Cir. 1990).
  19
  20         These principles require that counsel for the plaintiff should carefully
  21   evaluate the defendant’s contentions as to the deficiencies in the complaint, and
  22   that in many instances the moving party should agree to any amendment that would
  23   cure a curable defect.

  24
  25         The moving party shall attach a copy of the challenged pleading to the
  26   Memorandum of Points and Authorities in support of the motion.
  27   ///
  28   ///

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            The foregoing provisions apply as well to motions to dismiss a
  2
       counterclaim, answer or affirmative defense, which a plaintiff might contemplate
  3    bringing.
  4
  5         K. REQUIREMENTS FOR BRIEFS
  6
  7         In addition to the requirements in Local Rule 11, the Court requires
  8    the following for all briefs:
  9
  10               1. No footnote shall exceed 5 lines. The Court strongly discourages
  11   the use of extensive footnotes as a subterfuge to avoid page limitations in the Local
  12   Rules.
  13
  14               2. All footnotes shall be in the same type size as text. See Local Rule
  15   11−3.1.1.
  16
  17               3. Each case cited shall include a jump cite to the page or pages where
  18   the relevant authority appears (e.g., United States v. Doe, 500 U. S. 1, 14, 17
  19   (1997)).
  20
  21   Failure to follow these requirements may result in rejection of a brief for
  22   correction.
  23
  24        L. LEAD COUNSEL
  25
  26        Lead counsel shall appear on all dispositive motions, scheduling
  27   conferences, and settlement conferences. The Court does not entertain special
  28   appearances; only counsel of record may appear.

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            M.   COURTESY COPIES
  2
  3         A courtesy copy of all electronically filed pleadings shall be delivered
  4
       to Judge Selna’s courtesy copy drop on the tenth floor at the rear of the elevator
  5    lobby by noon the day following filing. Failure to make timely delivery of the
  6    courtesy copies may result in a delay in hearing a motion or ordering the
  7    matter off calendar.
  8
  9         N. ELECTRONIC COPIES
  10
  11       When the Court requires an electronic copy of a document (e.g., with
  12   proposed jury instructions), a copy shall be submitted at time of filing in one of the
  13   following manners: providing a copy on a disk, CD, or thumb drive in a labeled
  14   envelope and lodged with the clerk; or by e−mailing a copy to the Courtroom
  15   Deputy (JVS_Chambers@cacd.uscourts.gov). Regardless of media, the document
  16   should be formatted in WordPerfect9 or higher.
  17
  18        O. WEBSITE
  19
  20        Copies of this Order and other orders of this Court are available on the
  21   Central District of California’s website, at "www.cacd.uscourts.gov" at Judge
  22   Selna’s home page located under "Judge’s Procedures and Schedules."
  23
  24        P.   TENTATIVES−DAY OF HEARING AND WEB POSTING
  25
  26        The Court attempts to issue tentative rulings on each motion. Tentatives
  27   will be posted on the Court’s website: www.cacd.uscourts.gov/. From the home

  28   page, click on “Judges’ Procedures and Schedules” in the left column. From the

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       list click on "Hon. James V. Selna," which will take you to Judge Selna’s page.
  2    Click on the red notice in the upper left: "Click here to view Tentative Rulings."
  3    Then click on the desired ruling which comes up in a .pdf file which can be read
  4    with an Adobe Acrobat reader. Judge Selna attempts to post tentatives by late
  5    Friday afternoon preceding the hearing date. Hard copies of tentatives will also
  6    be available from the clerk approximately 15 minutes before the hearing.
  7
  8         The Court thanks counsel and the parties for their anticipated
  9    cooperation.
  10
  11      IT IS SO ORDERED.
  12
  13 DATED: January 17, 2018
  14                                     James V. Selna
                                         United States District Judge
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